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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
                                          )
                                          )
In re BP p.l.c. Securities Litigation     )   Civil Action No.: 4:10-MD-02185
                                          )
                                          )
                                          )   Honorable Keith P. Ellison
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 LEAD PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
    CLASS ACTION SETTLEMENT AND APPROVAL OF NOTICE TO THE
                        SETTLEMENT CLASS
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        Lead Plaintiffs Thomas P. DiNapoli, Comptroller of the State of New York, as

Administrative Head of New York State and Local Retirement Systems and the sole Trustee of

the New York State Common Retirement Fund (“New York”), and the Ohio Public Employees

Retirement System (“OPERS”) (collectively, “Lead Plaintiffs”), on behalf of themselves and the

Settlement Class, have reached a proposed settlement in the above-captioned action with

Defendants BP p.l.c. (“BP”), Anthony Hayward, and Douglas Suttles (collectively, the “Settling

Defendants”) for $175 million (the “Settlement”). 1 Lead Plaintiffs respectfully submit this

unopposed motion for entry of the [Proposed] Order Preliminarily Approving Settlement and

Providing for Notice (“Preliminary Approval Order”): (i) granting preliminary approval to the

proposed settlement set forth in the Stipulation, dated September 15, 2016, (ii) approving the

form and manner of giving notice of the proposed settlement to the Settlement Class; and (iii)

setting a hearing date at which the Court will consider (a) final approval of the settlement and

entry of the proposed Final Judgment and Order of Dismissal with Prejudice, (b) the Plan of

Allocation of settlement proceeds, and (c) Lead Counsel’s application for an award of attorneys’

fees and expenses (the “Final Approval Hearing”).

I.      INTRODUCTION

        This litigation arises from the April 20, 2010 Deepwater Horizon explosion.                          Lead

Plaintiffs alleged that BP and two of its senior executives misled investors about the severity of

the oil spill in the Gulf of Mexico, which impeded investors’ ability to assess the financial

implications of the spill on BP. Lead Plaintiffs have reached an agreement with Defendants BP,



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  Unless otherwise defined, all capitalized terms herein have the same meanings as set forth in the Stipulation, a
copy of which is attached as Exhibit A hereto. For ease of reference, the “Settlement Class” means all Persons who,
during the period of April 26, 2010 to and through May 28, 2010, inclusive, purchased or otherwise acquired BP
ADSs (subject to the exclusions set forth in the Stipulation).




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Suttles and Hayward to settle this action in return for the release of Post-Explosion ADS class

claims, as set forth in greater detail herein.

         The Settlement was reached after six years of litigation, including extensive investigation

and discovery led by Lead Plaintiffs and Lead Counsel. Lead Plaintiffs pursued these claims

vigorously on behalf of the Settlement Class through multiple motions to dismiss, motions for

class certification and a related appeal, and hundreds of pages of summary judgment briefing.

Fact discovery and expert discovery was completed, enabling the parties to fully appreciate the

relative strengths and weaknesses of the claims and defenses in this securities fraud action, and

the action was scheduled to proceed to trial in less than a month.

         The proposed settlement now before the Court for preliminary approval provides for the

payment of $175,000,000 in cash (the “Settlement Fund”), plus interest earned thereon, for the

benefit of the Settlement Class.        The Settlement is the result of extensive arm’s-length

negotiations between the parties, with the substantial assistance of Hon. Daniel Weinstein (Ret.)

as mediator. As discussed below, Lead Plaintiffs and Lead Counsel submit that the proposed

Settlement is in the best interests of the Settlement Class and clearly meets the standards for

preliminary approval.

         At this juncture, Lead Plaintiffs respectfully request that the Court grant preliminary

approval of the Settlement so that notice may be disseminated to members of the Settlement

Class and a Final Approval Hearing scheduled.

II.      PROCEDURAL HISTORY

         In May 2010, following the Deepwater Horizon explosion, and the ensuing collapse in

BP’s value, several federal securities class actions were filed on behalf of investors in BP’s

publicly-traded securities, including its ADSs and its foreign-traded ordinary shares.




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       On December 28, 2010, the securities actions were consolidated, and Lead Plaintiffs were

appointed by the Court to lead the consolidated class action, while a separate group of plaintiffs

(the “Ludlow Plaintiffs”) was appointed to serve as lead plaintiffs for a separate subclass of

investors who invested in BP before the April 20, 2010 Deepwater Horizon explosion (the

“Ludlow Period”).

       On February 14, 2011, Lead Plaintiffs filed Lead Plaintiffs New York and Ohio’s

Consolidated Class Action Complaint For All Purchasers of BP Securities From January 16,

2007 Through May 28, 2010 (the “New York and Ohio Complaint”). The New York and Ohio

Complaint alleged violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934

and SEC Rule 10b-5 thereunder on behalf of a proposed class of all persons or entities that

purchased or otherwise acquired BP ADSs or ordinary shares between January 16, 2007 and

May 28, 2010. The New York and Ohio Complaint included allegations that BP and other

defendants made misrepresentations in two broad categories: (i) misrepresentations regarding

certain safety practices prior to the April 20, 2010 Deepwater Horizon disaster (“Pre-Explosion

Claims”); and (ii) misrepresentations regarding the amount of oil being spilled into the Gulf of

Mexico in late April and early May 2010 (“Post-Explosion Claims”). The Ludlow Plaintiffs

filed a separate complaint on February 11, 2011 alleging only Pre-Explosion Claims within the

Ludlow Period.

       On February 13, 2012, the Court denied, in part, defendants’ motion to dismiss the New

York and Ohio Complaint, dismissing all claims brought on behalf of investors in BP’s foreign-

traded ordinary shares and claims concerning certain alleged pre-explosion misrepresentations.

In a separate order also issued on February 12, 2012, the Court granted defendants’ motion to

dismiss the Ludlow Plaintiffs’ complaint but granted the Ludlow Plaintiffs leave to amend.




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       Pursuant to direction from the Court, on April 2, 2012, Lead Plaintiffs and the Ludlow

Plaintiffs filed the Second Consolidated Amended Class Action Complaint For All Purchasers of

BP ADS Securities (the “SAC”). The SAC asserted claims on behalf of a putative class of

investors who purchased BP ADSs between May 9, 2007 and May 28, 2010, as well as a

subclass of investors who purchased BP ADSs within the Ludlow Period.

       On February 6, 2013, the Court denied, in part, defendants’ motion to dismiss the SAC.

The Court’s rulings permitted Lead Plaintiffs to advance claims based on alleged misstatements

relating to four broad subjects:        (1) BP’s progress in addressing the process-safety

recommendations contained in a 2007 report issued by an independent panel (known as the

“Baker Panel”); (2) BP’s implementation in the Gulf of Mexico of its Operating Management

System (“OMS”), the Company’s new framework for operations that includes process-safety

requirements; (3) BP’s ability to respond to an oil spill in the Gulf of Mexico as set forth in two

filings with the former Minerals Management Service (“MMS”); and (4) BP’s estimates of the

rate of oil flowing from the Macondo well immediately after the Deepwater Horizon rig sank and

leaking oil was discovered.

       The parties then engaged in heavy fact and expert discovery. Among other things, Lead

Counsel analyzed the more than one million documents produced in the related MDL 2179

litigation, which involved allegations that BP caused environmental and business harm from the

oil spill. Lead Counsel also attended or reviewed the transcripts of 435 depositions taken in

MDL 2179, as well as seven deposition transcripts from testimony elicited by the Securities and

Exchange Commission. Further, Lead Counsel obtained 375,000 pages of additional documents

in this litigation from BP, and took an additional 14 fact-witness depositions.




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       Expert discovery was equally extensive. In connection with Class Certification, Lead

Plaintiffs filed two opening expert reports and responded to two opening expert reports filed by

Defendants and took and defended four expert depositions. At the merits stage, Lead Plaintiffs

submitted two expert reports on the Post-Explosion Claims and deposed all five experts who

submitted reports in support of Defendants’ positions on those claims. In total, 18 expert reports,

including rebuttal reports, were submitted in this Action.

       On June 14, 2013, Lead Plaintiffs and the Ludlow Plaintiffs filed a motion for the Court

to certify the action as a class action pursuant to Fed. R. Civ. P. 23. On December 6, 2013, the

Court denied the motion with leave to move a second time. Thereafter, on January 6, 2014, Lead

Plaintiffs and the Ludlow Plaintiffs filed a motion to certify two subclasses: first, a class of all

those who purchased ADS securities before the explosion (the “Pre-Explosion Class”), and

second, a class of all those who purchased ADS securities after the explosion (the “Post-

Explosion Class”).    Lead Plaintiffs also sought (and were granted) leave to file a Third

Consolidated Amended Class Action Complaint (“TAC”), which was filed on July 24, 2014.

       On May 20, 2014, the Court granted the motion to certify the Post-Explosion Class, but

denied the motion to certify the Pre-Explosion Class. The United States Court of Appeals for the

Fifth Circuit granted cross-requests to review the Court’s ruling, and affirmed the ruling in its

entirety on November 4, 2015.

       On February 26, 2016, following extensive briefing, the parties argued cross-motions for

summary judgment. On June 2, 2016, after the parties submitted supplemental briefing at the

Court’s request, the Court granted in part and denied in part the cross-motions for summary

judgment.




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       Meanwhile, on December 7, 2015, with the assistance of the Honorable Daniel R.

Weinstein (ret.) (“Judge Weinstein”), a well-respected and highly experienced mediator, the

Settling Parties engaged in the first in-person mediation session held in this Action to explore a

possible negotiated resolution of the Post-Explosion Claims. The mediation involved an

extended effort to settle these claims and was preceded by the exchange of confidential

mediation statements.

       The parties’ settlement efforts continued and ultimately this settlement was reached. As

set forth in the Stipulation, the Settlement requires BP to pay to the Settlement Class $175

million as follows: $50 million is due within 10 days of the execution of the Stipulation of

Settlement; $50 million within 10 days of the Court granting final approval of this Settlement;

and $75 million on July 1, 2017.

        Lead Plaintiffs and Lead Counsel believe that the Settlement set forth in the Stipulation

confers a meaningful benefit to the Settlement Class and is in the best interests of Lead Plaintiffs

and the Settlement Class.

                                          ARGUMENT

III.   THE SETTLEMENT WARRANTS PRELIMINARY APPROVAL

       Under Federal Rule of Civil Procedure 23(e), the Court must review any settlement that

would result in dismissal of a class action, Fed. R. Civ. P. 23(e), and preliminary approval is the

first in a two-step process required before a class action may be settled. See McNamara v. Bre-X

Minerals Ltd., 214 F.R.D. 424, 426 (E.D. Tex. 2002). Whether a proposed settlement should be

granted preliminary approval is a matter within the sound discretion of the district court, which

should be exercised in the context of public policy strongly favoring the pretrial settlement of

class action lawsuits. See, e.g., In re Deepwater Horizon, 739 F.3d 790, 807 (5th Cir.), cert.

denied sub nom. BP Expl. & Prod. Inc. v. Lake Eugenie Land & Dev., Inc., 135 S. Ct. 754, 190


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L. Ed. 2d 641 (2014) (noting that there is an “overriding public interest in favor of settlement

that we have recognized particularly in class action suits.”) (internal quotations, modifications,

and citations omitted); Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977) (“Particularly in

class action suits, there is an overriding public interest in favor of settlement.”); Miller v.

Republic Nat’l Life Ins. Co., 559 F.2d 426, 428 (5th Cir. 1977) (settlements of class actions are

“‘highly favored in the law and will be upheld whenever possible because they are a means of

amicably resolving doubts and preventing lawsuits.’”) (citation omitted); In re Corrugated

Container Antitrust Litig., 643 F.2d 195, 207 (5th Cir. 1981) (noting “strong judicial policy

favoring settlement of disputes”); see also Jarallah v. Sodexo, Inc., 452 F. App'x 465, 468 (5th

Cir. 2011) (“[S]ettlement agreements are highly favored by the law and will be upheld whenever

possible.”); 4 Alba Conte & Herbert B. Newberg, Newberg on Class Actions § 11.41 (4th ed.

2002).

         On preliminary approval, courts consider the following factors: whether the settlement

“discloses no reason to doubt its fairness, has no obvious deficiencies, does not improperly grant

preferential treatment to class representatives or segments of the class, does not grant excessive

compensation to attorneys, and appears to fall within the range of possible approval.” In re OCA,

Inc. Secs. & Derivative Litig., No. 05-2165, 2008 WL 4681369, *11 (E.D. La. Oct. 17, 2008);

see also McNamara, 214 F.R.D. at 430 (“[i]f the preliminary evaluation of the proposed

settlement does not disclose grounds to doubt its fairness or other obvious deficiencies . . . and

appears to fall within the range of possible approval, the court should direct that notice under

Rule 23(e) be given to the class members of a formal fairness hearing . . .”).




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       A.      There Are No Obvious Deficiencies in the Settlement or Reasons to Doubt Its
               Fairness

       In determining whether the settlement contains obvious deficiencies for purposes of

preliminary approval, courts examine both the process and stage of litigation at which the

settlement was reached and also whether the terms fall within the range of reasonableness. E.g.,

In re OCA, 2008 WL 4681369 at *11. Courts recognize “a presumption of fairness, adequacy,

and reasonableness may attach to a class settlement reached in arm’s-length negotiations

between experienced, capable counsel after meaningful discovery.” In re Heartland Payment

Sys., Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040, 1063 (S.D. Tex. 2012). Here,

the process and stage of litigation weigh strongly in favor of preliminary approval of the

Settlement.

       Settlement negotiations were intense, arm’s-length, extended, and extensive. Judge

Weinstein, an experienced and well-respected mediator, presided over these negotiations

throughout. Negotiations were carried out on behalf of the parties by highly experienced and well-

regarded attorneys, who have been litigating this case from its outset, and who have intimate

knowledge about its strengths and weaknesses. Lead Plaintiffs or their State counsel attended each

of the in-person mediation sessions, and ultimately approved all settlement offers exchanged.

Defendants are represented by Sullivan & Cromwell LLP, Paul, Weiss, Rifkind, Wharton &

Garrison LLP, and Kirkland & Ellis LLP, three preeminent law firms.

       Because the parties had fully briefed summary judgment, they had full information to

conduct informed bargaining for a settlement that adequately reflects the merits of claims

remaining in the case and risks attendant to those that could be appealed. In particular, the

settlement was reached six years into the litigation. Discovery included the collection and

review of nearly 1.4 million documents; 14 fact depositions; 18 expert reports; and eight



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expert depositions. Thereafter, Defendants filed motions to exclude the testimony of Lead

Plaintiffs’ experts. There can be no doubt that the parties reached the settlement with a “full

understanding of the legal and factual issues surrounding this case.” Manchaca v. Chater,

927 F. Supp. 962, 967 (E.D. Tex. 1996).

       B.      The Settlement Is Well Within the Range of Reasonableness

       Under the proposed Settlement, the Settlement Class will receive $175,000,000 in

exchange for the release of the Settlement Class’ claims against Defendants. In evaluating

whether this falls within the range of reasonableness, “the court is not to decide the issues or try

the case via the fairness hearing because, ‘the very purpose of the compromise is to avoid the

delay and expense of such a trial.’” Garza, 1996 U.S. Dist. LEXIS 2009, at *49 (citing Reed, 703

F.2d at 172) (additional citation omitted). Rather, the Court inquiry “should contrast settlement

rewards with likely rewards if case goes to trial.” In re Chicken, Antitrust Litig., 669 F.2d 228,

239 (5th Cir. 1982).

       Lead Plaintiffs believe their case against Defendants BP and Suttles is strong. However,

Lead Plaintiffs recognize there are substantial risks in terms of establishing liability and proving

damages at trial. Garza, 1996 U.S. Dist. LEXIS 2009, at *49 (“both sides recognize the uncertainty

of litigation”). Lead Counsel estimates that the Settlement represents over 40% of recoverable

damages, which is an excellent result for the Class.

       There can be no doubt that Lead Plaintiffs faced significant risks in obtaining a larger

recovery for the Settlement Class, if they had taken the case to trial. This Court’s summary

judgment ruling highlights the risks faced by Lead Plaintiffs, in that it resulted in the dismissal of

Defendant Hayward from the case entirely and dismissed four of the six alleged corrective events

that had associated price declines composing a significant amount of Lead Plaintiffs’ alleged

damages. And, although the risk that Lead Plaintiffs would fail to persuade a jury on liability


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and damages was lower based on the claims that Lead Plaintiffs were permitted to prove to a

jury, the risk that the jury would award damages for only a portion of the associated price

declines in light of the Court’s summary judgment opinion could be very real. This is especially

true given the risk posed by the fact that Defendants’ motion to exclude Lead Plaintiffs’ damages

expert was pending at the time of settlement. If the Court were to exclude testimony from Lead

Plaintiff’s damages expert, Lead Plaintiffs would have a difficult time convincing a jury of their

damages. And even if Defendants’ motion were denied, the arguments presented therein could

persuade a jury to attach little weight to the expert’s testimony.

       In light of these risks, Lead Plaintiffs respectfully submit that the $175,000,000

Settlement amount represents a significant recovery relative to the value of recoverable damages

remaining in the case that clearly falls within the range of reasonableness.

       C.      The Settlement Treats All Settlement Class Members Fairly and Does Not
               Improperly Grant Preferential Treatment to Lead Plaintiffs or Any Segment
               of the Settlement Class

       The Settlement should also be preliminarily approved because it does not improperly

grant preferential treatment to either Lead Plaintiffs or any segment of the Settlement Class.

Rather, all members of the Settlement Class, including Lead Plaintiffs, will receive an allocation

of the Settlement Fund pursuant to the proposed Plan of Allocation to be approved by the Court.

This Plan of Allocation, developed in compliance with the prior expert damages and loss

causation reports in the action, applies to and compensates all Settlement Class Members,

including Lead Plaintiffs, fairly and equally.        The Plan of Allocation makes appropriate

recognition of the status of the proceedings in the litigation and provides compensation to all

Settlement Class Members. Lead Counsel respectfully submits that the Plan of Allocation

provides an appropriate discounted recovery to those Settlement Class Members whose

purchases of BP ADSs occurred during the period in which the Court has ruled that there is no


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loss causation, but for which a right of appeal exists. Such a discounted recovery is appropriate

and does not improperly grant preferential treatment to Lead Plaintiffs or particular members of

the Settlement Class. See, e.g., In re Enron Corp. Sec., Derivative & ERISA Litig., MDL-1446,

2008 WL 4178151, *2 (S.D. Tex. Sept. 8, 2008) (“A class action settlement need not necessarily

treat all class members equally.”). In addition, the reimbursement of Lead Plaintiffs’ reasonable

costs and expenses incurred in connection with serving as Lead Plaintiffs is explicitly

contemplated by the PSLRA. See 15 U.S.C. § 78u–4(a)(4). Thus, such reimbursement does not

improperly grant preferential treatment to Lead Plaintiffs.

       D.      The Requested Attorneys’ Fees and Expenses are Fair and Reasonable, and
               the Settlement Does Not Excessively Compensate Lead Counsel

       Lead Counsel will seek 11.57% of the Settlement Amount, pursuant to retainer

agreements that Lead Counsel negotiated and entered into with Lead Plaintiffs at the outset of

the litigation. This is far below percentages that courts routinely approve in securities class

actions. For instance, in In re Anadarko Petroleum Corp. Class Action Litigation, No. 12-cv-

00900 (S.D. Tex. Sep. 11, 2014) (Dkt. 108), this court approved attorneys’ fees of 25%, in a case

that involved substantially less litigation and discovery than this case. See also Schwartz v. TXU

Corp., No. 3:02-CV-2243-K, 2005 WL 3148350, at *27 (N.D. Tex. Nov. 8, 2005) (“courts

throughout this Circuit regularly award fees of 25% and more often 30% or more of the total

recovery under the percentage-of-the recovery method”); Shaw v. Toshiba Am. Info. Sys., Inc., 91

F. Supp. 2d 942, 972 (E.D. Tex. 2000) (“based on the opinions of other courts and the available

studies of class action attorneys’ fees awards . . . this Court concludes that attorneys’ fees in the

range from twenty-five percent (25%) to [33%] have been routinely awarded in class actions”);

see also Jenkins, 2014 WL 1229661, at *13 (“it is not unusual for district courts in the Fifth

Circuit to award percentages of approximately one third”).



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IV.    THE PROPOSED FORM AND METHOD OF NOTICE TO THE SETTLEMENT
       CLASS

       Lead Counsel respectfully submits that it is in the best interests of the class to proceed

with a notice program that provides for the mailing of a short-form of Settlement Notice that

directs Class Members to a website maintained by the Claims Administrator. The website would

contain the long-form notice for Class Members to view and download, as well as copies of

downloadable and printable claim forms that must be submitted in connection with the Claims

Process. Further, as an alternative for Class Members that may not have sufficient computer

access, the short-form of the Settlement notice provides instructions for obtaining copies of the

long-form notice and claims packet by mail from the Claims Administrator. In connection with

the notice of pendency of class action previously approved by the Court, the Claims

Administrator mailed over 500,000 notices to potential Class Members. The costs involved with

printing and mailing a similar number of long-form notices and hard copies of the claim forms

would be substantial – potentially approaching one million dollars in postage, printing, and

associated charges. Lead Counsel believes that the best interests of the class would be better

served by minimizing the cost of mailing of paper forms, when proven and effective electronic

alternatives are available.

       In connection with a settlement class maintained under Rule 23(b)(3), class notice must

meet the requirements of both Rule 23(c)(2) and Rule 23(e). See Vaughn v. Am. Honda Motor

Co., 627 F. Supp. 2d 738, 744 (E.D. Tex. 2007), stay granted, order amended sub nom., Vaughn

v. Am. Honda Motor Co., Inc., 507 F.3d 295 (5th Cir. 2007); Schwartz, 2005 WL 3148350, at

*10.   Rule 23(c)(2) requires “the best notice that is practicable under the circumstances,

including individual notice to all members who can be identified through reasonable effort.”




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Rule 23(e) is less specific, requiring only that notice of the proposed settlement be given “in a

reasonable manner to all class members who would be bound by the proposal.”

       As detailed in the proposed Preliminary Approval Order, Lead Counsel and the Claims

Administrator propose to mail copies of a Summary Notice of Proposed Settlement of Class

Action (“Summary Notice”), substantially in the form attached as Exhibit 1 to the Stipulation, by

first class mail, to all identifiable Settlement Class Members, at their last known address

appearing in the transfer records maintained by or on behalf of BP. The Summary Notice

commands the attention of potential Settlement Class members, provides summarized

information about the Settlement, and directs potential Settlement Class Members to the website

already established for this litigation in connection with the Court-approved notice of pendency

of class action (www.bpsecuritieslitigation.com), where the Stipulation, a Notice of Proposed

Settlement of Class Action (“Long-Form Notice”), substantially in the form attached as Exhibit 2

to the Stipulation, and a Proof of Claim form (“Proof of Claim”), substantially in the form

attached as Exhibit 3 to the Stipulation, can be viewed and downloaded. The Summary Notice

also informs potential Settlement Class Members, including those who may lack computer

access or have other limitations, how to obtain copies of the Long-Form Notice and Proof of

Claim by mail from the Claims Administrator. Copies of the Summary Notice will also be

mailed to the largest banks and brokerage houses requesting that the Summary Notice be sent to

all persons and entities for whom they act as nominee purchasers. In addition, Lead Counsel will

publish the relevant text of Summary Notice once in the national edition of Investor’s Business

Daily and once over the PR Newswire shortly after mailing of the Summary Notice.

       With respect to content, the notice must contain the information outlined in Rule

23(c)(2)(B) and the additional information required by the PSLRA. See 15 U.S.C.A. §78u-




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4(a)(7).   The proposed Long-Form Notice satisfies these requirements and will provide

Settlement Class Members with the information necessary for them to make a decision whether

to remain in, opt-out, or object to the settlement. See In re Nissan Motor Corp. Antitrust Litig.,

552 F.2d 1088, 1105 (5th Cir. 1977) (notice must contain “information that a reasonable person

would consider to be material in making an informed, intelligent decision of whether to opt

out or remain a member of the class and be bound by the final judgment.”); Vaughn, 627 F.

Supp. 2d at 744; In re Shell Oil Refinery, 155 F.R.D 552, 558 (E.D. La. 1993). The proposed

Long-Form Notice describes: (i) the nature, history, and status of the Litigation; (ii) the

Settlement; (iii) the definition of the Settlement Class; (iv) how a class member may exclude her-

, him-, or itself from the settlement; (v) the process by which class members may enter an

appearance through their own counsel; (vi) the binding effect of the settlement approval

proceedings; (vii) the proposed plan of distribution; and (viii) the reasons the parties are

proposing the Settlement. It also supplies the date, time, and place of the Fairness Hearing, and

the procedures for commenting on the Settlement and appearing at the hearing.

       As required by the PSLRA, the Summary and Long-Form Notice combined include the

following information: (i) the amount of the settlement proposed to be distributed to the parties

to the action, determined in the aggregate and on an average per-share basis; (ii) if the parties do

not agree on the average amount of damages per share that would be recoverable in the event

plaintiff prevailed, a statement from each settling party concerning the issue(s) on which the

parties disagree; (iii) a statement indicating which parties or counsel intend to make an

application for an award of attorneys’ fees and costs (including the amount of such fees and costs

determined on an average per-share basis), and a brief explanation supporting the fees and costs

sought; (iv) the name, telephone number, and address of one or more representatives of counsel




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for the plaintiff class who will be reasonably available to answer questions concerning any

matter contained in the notice of settlement published or otherwise disseminated to the class; (v)

a brief statement explaining the reasons why the parties are proposing the settlement; and (vi)

such other information as may be required by the Court. See 15 U.S.C.A. §78u-4(a)(7)(A)-(F).

        The proposed notice program fulfills the requirements of due process because it alerts

and informs those Settlement Class Members who can be identified through reasonable efforts of

all of the information set forth above. Courts routinely find that comparable notice programs

meet the requirements of due process, the PSLRA, and Rule 23. See In re Mut. Funds Inv. Litig.,

No. 04-MD-15863, 2010 WL 2077972, at *4 (D. Md. May 19, 2010) (approving notice program

that involved mailing a summary notice with instructions for obtaining long-form notice online);

In re Advanced Battery Techs., Inc. Sec. Litig., 298 F.R.D. 171, 182 (S.D.N.Y. 2014) (same);

Trombley v. Bank of Am. Corp., No. 08-CV-456-JD, 2011 WL 3740488, at *2 (D.R.I. Aug. 24,

2011) (same). See also In re Enron Corp. Sec. & ERISA Litig., Civ. No. H-01-3624, 2003 WL

22494413, at *3 (S.D. Tex. July 24, 2003); In re OCA, Inc. Sec. & Deriv. Litig., CIV A 05-2165,

2008 WL 4681369, at *14-16 (E.D. La. Oct. 17, 2008); W. Wash. Laborers-Employers Pension

Trust v. Panera Bread Co., No. 4:08CV00120 ERW, 2011 WL 720060, at *2-3 (E.D. Mo. Feb.

22, 2011); In re General Elec. Co. Sec. Litig., No. 1:09-cv-01951-DLC, Dkt. No. 201 (S.D.N.Y.

May 30, 2013) (approving notice program that included mailing of postcard settlement notices

with instructions for obtaining long-form notice); Ross v. Career Educ. Corp., No. 1:12-cv-

00276, Dkt. No. 113 (N.D. Ill. Nov. 6, 2013) (same); In re New Oriental Educ. & Tech. Group

Sec. Litig., No 1:12-cv-05724-JGK, Dkt. No. 80 (S.D.N.Y. June 10, 2014) (same); .

V.      PROPOSED SCHEDULE

        If the Court grants preliminary approval to the proposed Settlement, the parties

respectfully submit the following procedural schedule for the Court’s consideration.          The


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proposed Preliminary Approval Order includes blank dates that must be established by the Court

to properly effectuate the Settlement. In this regard, the parties present the following general

schedule of events to the Court:

                             EVENT                                   PROPOSED DUE DATE
       Deadline to commence mailing of Summary Notice                 10 days after entry of
       to Settlement Class Members (the “Notice Date”)            Preliminary Approval Order
       Deadline to publish Summary Notice                             10 days after entry of
                                                                  Preliminary Approval Order
       Deadline to file Motion for Final Approval and            35 days before Final Approval
       Motion for Award of Attorneys’ Fees                                  Hearing
       Deadline for objections to be filed with the Court        28 days before Final Approval
                                                                            Hearing
       Deadline for Settlement Class Members to submit           28 days before Final Approval
       exclusion requests to the Claims Administrator                       Hearing
       Deadline to file replies in support of Motions for         7 days before Final Approval
       Final Approval and for Award of Attorneys’ Fees                      Hearing
       Deadline for Class Members to submit claim forms                   April 1, 2017
       to the settlement administrator
       Final Approval Hearing                                   75 days after Notice Date, or at
                                                                   the Court’s convenience


       If this schedule is not convenient for the Court, Lead Plaintiffs respectfully request that

the Court use at least the same or greater intervals between each event listed in the proposed

schedule to provide all parties with sufficient time to comply with the proposed Preliminary

Approval Order.

                                        CONCLUSION

       For the foregoing reasons, Lead Plaintiffs respectfully request the Court: (a) grant

preliminary approval of the Settlement, including approving the form and substance of the

proposed forms of notice and directing that notice be provided to the members of the Settlement

Class; (b) appoint A.B. Data to serve as Claims Administrator; (c) schedule a hearing at which

Final Approval of the Settlement, Plan of Allocation, and an award of attorneys’ fees and




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reimbursement of litigation expenses to Lead Counsel may be considered; and (d) grant such

further relief as the Court deems just and proper.

DATED: September 15, 2016

                                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

            I hereby certify that on September 15, 2016, the foregoing was electronically served on

counsel of record in this matter who are registered with the Court’s ECF filing system through

ECF notification and by electronic mail.

                                                       /s/ Steven J. Buttacavoli
                                                       Steven J. Buttacavoli




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